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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

      UNITED STATES OF AMERICA

      vs.                                           CASE NO. 6:05-CR-197-ORL-19JGG

      BRIAN FARMER #2

                                               ORDER

             This case having been considered by the Court on Report and Recommendation

      Concerning Plea of Guilty (Doc. No. 129, filed June 28, 2006) and no objection thereto

      having been filed, it is ORDERED:

             1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

      No. 129) is ACCEPTED, AFFIRMED AND ADOPTED.

             2.      Defendant Brian Farmer has entered a plea of guilty to Count One of the

      Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and Defendant

      is adjudicated guilty of Count One of the Indictment.

             3.      Ruling on acceptance of the Plea Agreement (Doc. No. 125, filed June 16,

      2006) is deferred until the time of sentencing.

             DONE AND ORDERED at Orlando, Florida, this           2nd       day of July, 2006.




      Copies to:
      Assistant United States Attorney
      Attorney for Defendant
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      United States Marshal
      United States Probation
      United States Pretrial Services
      Defendant
      Courtroom Deputy
